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UNITED STATES DISTRICT coURT Fw> BYM_`__D.Q
FOR THE
WESTERN DISTRICT 0F TENNESSEE 05 JUL -5 AH tU= ah
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UNlTED sTATES 0F AMERICA W/DO*“ "`\‘ *»EMPHB

vs. CR. NO. 02-20¢}63-Ma

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SHAUN T. JONES, #351267

APPLICATION ORDER and WR_IT FOR HABEAS CORPUS AD PROSE UENDUM

 

Dan L. Newsom applies to the Court for a Writ to have Shaun T. Jones, now being detained
in the Northwest Correctional Complex, 960 State Road, Tiptonville, Tennessee 38079, appear before
the Honorable Samuel H. Mays on July 26, 2005 , at 1:30 p.m. for Re-Sentencing Hearing and for
such other appearances as this Court may direct.

Respectfully submitted this l day of .M, 200

  

Dan L. Newsom
Assistant U. S. Attorne

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Upon consideration of the foregoing Application,
DAVID G. JOLLEY, U.s. MARSHAL, wEsTERN DISTRICT 0F TENNESSEE, MEMPHIS, TN
SHERIFF/wARDEN, Tony Parker

YOU ARE HEREBY COMMANDED to have Shaun T. Jones appear before the Honorab[e Samuel H.

Mays, Jr. at the date and time aforementioned

ENTERED this / day of g , 2005 .

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UNITED STATES MAGISTRATE JUDGE

 

This docl_ment entered on the docket sheet ln eompl|anoe
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DISTRIC COURT - v\/ETEru\IS D"RITICT 0 TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 84 in
case 2:02-CR-20063 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

